                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON

In re                                                )               15-35133-rld7
                                                          Case No. ________________
Elber Garboden and Sherry L Garboden                 )
                                                     )    NOTICE OF MOTION FOR RELIEF
                                                     )    FROM (Check all that apply):
                                                     )      AUTOMATIC STAY IN A CHAPTER 7/13 CASE
Debtor(s)                                            )      CHAPTER 13 CODEBTOR STAY

  I.   YOU ARE NOTIFIED that a Motion was filed by ____________________________________________,
                                                                  CitiMortgage, Inc.             the moving
       party, for (Check all that apply):

            Relief from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 USC §362.
            Relief from the stay protecting the codebtor, whose name and service address are: _______________________
            __________________________________________________________________________________________,
            and codebtor’s property as provided by 11 USC §1301.

 II.   A copy of the Motion is attached. The name and service address of the moving party's attorney (or moving party, if no
       attorney) are:__________________________________________________________________________________
                      Jesse A.P. Baker 4375 Jutland Drive Suite 200, P.O. Box 17933, San Diego, CA 92177-0933
       _____________________________________________________________________________________________

III.   If you wish to resist the Motion, you must, within 14 days of the service date shown below, file the following with the Clerk
       of the U.S. Bankruptcy Court [NOTE: if you mail or have a courier deliver the Response to the Court for filing, you must
       mail it or initiate the delivery sufficiently before the deadline so that it will actually be received at the Court on time.]


       A. A written response that states the facts supporting the opposition to the Motion by filling in the applicable “Response”
          portions on a copy of the original Motion. [NOTE: If the Response will be electronically filed, the Response must be
          prepared using the “fillable” pdf version of the original Motion unless the Motion was filed on paper and could not
          be electronically obtained from the movant];

And B. A fully completed Notice of Hearing using Local Form #721, including the date and time of the hearing. Available
       hearing dates and times are posted on the Court’s website at www.orb.uscourts.gov under the “Hearings” heading.
       If you do not have internet access, please call the Court at (503) 326-1500 or (541) 431-4000 and press “0" to obtain
       the required forms and hearing information from a Court clerk.

IV.    Failure to Respond and Serve Proper Notice of Hearing. If you fail to file a timely response and a proper Notice of
       Hearing, then either:

       A. The automatic stay will expire as to the debtor(s) pursuant to 11 USC §362(e) 30 days after the Motion was originally
          filed, and/or the stay protecting the codebtor will automatically expire pursuant to 11 USC §1301(d) 20 days after
          the date the Motion was originally filed;

 Or    B. The Court may sign an ex parte order, submitted by the moving party on Local Form #720.90, granting relief from
          the debtor stay and/or codebtor stay.

                                                         Clerk, U.S. Bankruptcy Court
                                                         [NOTE: If the 5-digit portion of the Case No. begins with "3" or "4", mail
                                                         to 1001 SW 5th Ave. #700, Portland OR 97204; OR if it begins with "6" or
                                                         "7", mail to 405 E 8th Ave #2600, Eugene OR 97401.]


I certify that: (1) The Motion was prepared using the Court’s “fillable” PDF version of Local Form #720.80; and (2) that on
___________
    01/22/16 I served copies of this Notice and the Motion on the Debtor(s), any codebtor at the address listed above, Trustee,
U.S. Trustee, members of any committee elected pursuant to 11 USC §705, and their respective attorneys.



                                                   /s/ Jesse A.P. Baker                                                     100017
                                                  Signature of Moving Party or Attorney                                    (OSB#)
720 (12/1/13)

                                    Case 15-35133-rld7            Doc 18      Filed 01/22/16
                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

In re                                )                     15-35133-rld7
                                                 Case No.__________________
                                     )
Elber Garboden and Sherry L Garboden
                                     )           (CHECK ALL APPLICABLE BOXES)
                                     )              Ch. 7/13 Motion for Relief from
                                     )                  DEBTOR        Chapter 13 CODEBTOR Stay
                                     )              Filed by Creditor:
                                     )              _____________________________________
                                                    CitiMortgage, Inc.
                                     )              Response to Stay Motion filed by Respondent:
Debtor(s)                            )              _____________________________________

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):
12054 Chapin Court, Oregon City, Oregon 97045



    b. Amount of debt: $______________
                              60,048.14*      consisting of principal: $______________; interest: $______________; other:
* As of January 11, 2016 (consists of Principle only)


    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable information from
       debtor’s schedules if available on PACER:
Bank of America         264,674.24       1st Mortgage



        Total debt secured by collateral (total 1.b. + 1.c.): $______________.
                                                                  324,722.38

    d. Value of collateral: $______________.
                                 324,015.00
       Equity in collateral: $______________,
                                 (26,628.58)  after deducting $______________
                                                                  25,921.20   liquidation costs.

    e. Current monthly payment: $______________.
                                     565.95

    f. If Chapter 13:

        (1) $______________ postpetition default consisting of (e.g., $____ payments, $____ late charges, $____ fees):


        (2) $______________ prepetition default consisting of     amounts specified in proof of claim, or,   consisting of:




    g. If Chapter 7, total amount of default $______________.
                                                  1,697.85

RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why there is a
postpetition default, if applicable) (to be completed by respondent):




720.80 (12/1/14)           Page 1 of 4
                                  Case 15-35133-rld7         Doc 18      Filed 01/22/16
2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
     Lack of adequate protection because of failure to make sufficient adequate protection payments and lack of a sufficient
     equity cushion.
     Lack of insurance on collateral.
     No equity in the collateral and the property is not necessary for an effective reorganization.
     Failure of debtor to make Chapter 13 plan payments.
     Failure of debtor to make payments to secured creditor required by ¶4 of Chapter 13 plan.
     Other (describe):
Pursuant to the Debtors’ SOI, the Debtors’ property will be surrendered.




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition default, detail the
cure by attaching a proposed order using Local Form (LBF) #720.90 available at www.orb.uscourts.gov under Forms/Local
Forms) (to be completed by respondent):




3. Background (To be completed by creditor)

    a. Date petition filed: ___________
                              10/31/15      Current Chapter: ____7 (7 or 13)
       If 13, current plan date ___________ Confirmed:           Yes   No
       If 13, treatment of creditor’s prepetition claim(s) in plan:



       If 7, debtor   has   has not stated on Local Form (LBF) #521 or #521.05 that debtor intends to surrender the collateral.

    b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see ¶6 below):
          Security agreement, trust deed or land sale contract dated ___________,
                                                                           10/26/06     and, if applicable, an assignment of said
          interest to creditor. The security interest was perfected as required by applicable law on ___________.
                                                                                                            10/31/06
          Retail installment contract dated ___________, and, if applicable, an assignment of said interest to creditor. The
          security interest was perfected on the certificate of title on ___________.
          Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




4. Request for Relief from Codebtor Stay (Only Chapter 13)

    a. ______________________________, whose address is _______________________________________________
       ________________________, is a codebtor on the obligation described above, but is not a debtor in this bankruptcy.

    b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):   codebtor received
       the consideration for the claim held by creditor,     debtor’s plan does not propose to pay creditor’s claim in full,
          creditor’s interest would be irreparably harmed by continuation of the codebtor stay as a result of the default(s)
       described above and/or because:




720.80 (12/1/14)            Page 2 of 4
                                   Case 15-35133-rld7          Doc 18      Filed 01/22/16
RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




6. Relief Requested (check all applicable sections): (To be completed by creditor)

       Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified collateral, and,
       if necessary, to take appropriate action to obtain possession of the collateral.

       Creditor has a security interest in real property and requests relief from stay with respect to an act against such property
       and that the relief be binding in any other bankruptcy case purporting to affect such real property filed not later than 2
       years after the date of the entry of an order granting this motion. (If you check this box, you must complete ¶5 above
       to support this request. If you do not do so, the Court will not grant relief binding in any other bankruptcy case.)

       Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following cause:
Pursuant to the Debtors’ SOI, the Debtors’ property will be surrendered.

       Other (describe and explain cause):




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach a proposed
order using Local Form (LBF) #720.90 available at www.orb.uscourts.gov under Forms/Local Forms) (to be completed by
respondent):




720.80 (12/1/14)           Page 3 of 4
                                   Case 15-35133-rld7           Doc 18      Filed 01/22/16
7. Documents:

    If creditor claims to be secured in ¶3.b. above creditor has attached to and filed with this motion a copy of the
    documents creating and perfecting the security interest, if not previously attached to a proof of claim.

    If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property, creditor
    has attached to and filed with this motion a postpetition payment history current to a date not more than 30 days before
    this motion is filed, showing for each payment the amount due, the date the payment was received, the amount of the
    payment, and how creditor applied the payment.

RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are pertinent
to this response:
    Postpetition payment history if not required above.
    Documents establishing that creditor owns the debt described in ¶1 or is otherwise a proper party to bring this motion.
    Other document(s) (specific description):




CREDITOR/ATTORNEY                                                 RESPONDENT DEBTOR/ATTORNEY (by signing, the
                                                                  respondent also certifies that [s]he has not altered the
                                                                  information completed by creditor)

            /s/ Jesse A.P. Baker
Signature:__________________________________                      Signature:__________________________________
       Jesse  A.P. Baker
Name:________________________________________                     Name:________________________________________
         4375 Jutland Drive Suite 200; P.O. Box 17933
Address:________________________________________                  Address:________________________________________
San Diego, CA 92177-0933
_______________________________________________                   _______________________________________________
Email Address:__________________________________
                 jbaker@aldridgepite.com                          Email Address:__________________________________
           (858) 750-7600
Phone No:______________________________________                   Phone No:______________________________________
           100017
OSB#:_________________________________________                    OSB#:_________________________________________



                                                                  RESPONDENT CODEBTOR/ATTORNEY (by signing,
                                                                  the respondent also certifies that [s]he has not altered
                                                                  the information completed by creditor)

                                                                  Signature:__________________________________
                                                                  Name:________________________________________
                                                                  Address:________________________________________
                                                                  _______________________________________________
                                                                  Email Address:__________________________________
                                                                  Phone No:______________________________________
                                                                  OSB#:_________________________________________




YOU ARE HEREBY NOTIFIED THAT THE CREDITOR IS ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.

720.80 (12/1/14)          Page 4 of 4
                                 Case 15-35133-rld7          Doc 18     Filed 01/22/16
                                               EXHIBIT A
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT A
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT A
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT A
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT A
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT A
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                               EXHIBIT B
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                         For Reference Only
Case 15-35133-rld7   Doc 18   Filed 01/22/16
                                         For Reference Only
Case 15-35133-rld7   Doc 18   Filed 01/22/16
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P




  In re         Elbert G Garboden,                                                                          Case No.
                Sherry L Garboden
                                                                                                ,
                                                                               Debtors
                                                            SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                     Nature of Debtor's         Wife,     Debtor's Interest in              Amount of
                Description and Location of Property                 Interest in Property       Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

12054 Chapin Court, Oregon City, OR 97045                           Fee simple                      J                    324,015.00              324,846.59

Value per zillow (does not account for repairs
needed: roof and floors)




                                                                                                 Sub-Total >            324,015.00         (Total of this page)

                                                                                                        Total >         324,015.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
Software Copyright (c) 1996-2014 - Best Case, LLC - www.b
                                                                                                                  For Reference Only
                                                                                                                                 Best Case Bankruptcy
                                                       Case 15-35133-rld7      Doc 18       Filed 01/22/16
 B6D (Official Form 6D) (12/07)


           e
           }
           c
           b
           u
           k
           r
           1
           {
           d
           S
           C
           h
           l
           D
           -
           i
           t
           o
           s
           H
           n
           g




   In re         Elbert G Garboden,                                                                                            Case No.
                 Sherry L Garboden
                                                                                                                  ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W              NATURE OF LIEN, AND                        I    Q   U                        PORTION, IF
                                                             T   J             DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C                  OF PROPERTY
                                                             R
                                                                                   SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. 2180                                                   1996                                                         E
                                                                                                                                D
                                                                   First Mortgage
Bank of America                                                    12054 Chapin Court, Oregon City, OR
PO Box 650070                                                      97045
Dallas, TX 75265-0070
                                                                 J Value per zillow (does not account for
                                                                   repairs needed: roof and floors)
                                                                     Value $                            324,015.00                          264,674.24                    0.00
Account No. 4575                                                   1996
                                                                   HELOC w/ Balloon in 2021
Citi Mortgage                                                      12054 Chapin Court, Oregon City, OR
PO Box 689196                                                      97045
Des Moines, IA 50368-9196
                                                                 J Value per zillow (does not account for
                                                                   repairs needed: roof and floors)
                                                                     Value $                            324,015.00                           60,172.35                831.59
Account No. 6480                                                     2014-2015

Les Schwab                                                           Purchase Money Security
PO Box 5350
Bend, OR 97708                                                       Tires and Brakes
                                                                 J

                                                                     Value $                                1,336.45                          1,336.45                    0.00
Account No.                                                          12/2010

OnPoint Credit Union                                                 Purchase Money Security
PO Box 3750
Portland, OR 97208                                                   2010 Open Range Trailer
                                                                 J

                                                                     Value $                                    0.00                         16,700.00             16,700.00
                                                                                                                        Subtotal
 1
_____ continuation sheets attached                                                                                                          342,883.04             17,531.59
                                                                                                               (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.b
                                                                                                                                 For Reference Only
                                                                                                                                                Best Case Bankruptcy
                                                        Case 15-35133-rld7                       Doc 18       Filed 01/22/16
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Elbert G Garboden,                                                                                            Case No.
                 Sherry L Garboden
                                                                                                                  ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                             O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT      UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                      PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                             T   J                                                         N    U   T                       ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. 4710                                                     4/2014                                                     E
                                                                                                                                D

Wells Fargo Dealer Services                                          Purchase Money Security
PO Box 25341
Santa Ana, CA 92799-5341                                             1999 Ford Expedition V8 (158k miles est)
                                                                 J

                                                                     Value $                                2,435.00                          3,124.16         689.16
Account No.




                                                                     Value $
Account No.




                                                                     Value $
Account No.




                                                                     Value $
Account No.




                                                                     Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                              3,124.16         689.16
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                          Total             346,007.20      18,220.75
                                                                                                (Report on Summary of Schedules)

 Software Copyright (c) 1996-2014 - Best Case, LLC - www.b
                                                                                                                                 For Reference Only
                                                                                                                                                Best Case Bankruptcy
                                                        Case 15-35133-rld7                       Doc 18       Filed 01/22/16
